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                  Exhibit 8
Operation Madcap Highlights PPT 11.10.24
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      Operation “Madcap”




                                R. Wyn Young, Esq.
  Abridged                          November 1, 2024
                                                                                    Abridged
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HIGHLIGHTS                     LinkedIn.com/in/rwynyoung
                                                                             HIGHLIGHTS
  Version                                                                           Version
                                     Art & Advocacy:
                                    AlwaysWyn.com
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       Popular Perception
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    The                                                          of the
   Power                                                      Alternative
   house                                                         Media

                    Infowars is about to be shut down
             due to a $1.43 Billion adverse default judgment
                        in a defamation action
               based on the alleged mass school shooting
          in Sandy Hook, Connecticut, in December of 2012.


  How does something like this happen in America ?!
                                  It doesn’t.

Not without collusion or self~sabotage by the defense.
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                        Reality
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         Capitulation & Betrayal
                                             Introduction
❖ Would it surprise you to learn that Alex Jones ~ Champion of Free Speech, Leader of the
  Patriotic Opposition ~ is not even asserting First Amendment protections in his appeal of the
  Connecticut Sandy Hook judgment ?? You know, the $1.43 Billion adverse default judgment based
  entirely upon Jones’ words ~ his exercise of free speech ??
❖ In fact, Jones and his attorney, Norman A. Pattis, are specifically avoiding assertion of First
  Amendment protections on appeal by admitting to the Connecticut Appellate Court that Jones
  “lied from the very beginning of his coverage of the Sandy Hook shootings.” (Jones’ Appeal Brief
  Pg. 32)* Jones’ own Brief further states: “Mr. Jones lied about Sandy Hook. He lied to attract
  attention.” Id. at 47. And, finally, at Pg. 50: “Mr. Jones is not contending . . . that his speech was
  protected on First Amendment grounds.” [Emphasis added.]
                                     ❖ Sadly, I was not surprised to see that, in the consolidated CT
                                       Sandy Hook cases, Jones has essentially colluded with the
                                       Plaintiffs and is doing everything he can to sandbag both the
                                       First and Second Amendments. In fact, I pulled Jones’
                                       Appellate Brief expecting to find such a capitulation and a
                                       betrayal of professed and foundational principles.
                                     *   June 2, 2023, Brief of Defendants in Lafferty, et al. v. Jones, et al., CT A.C. No.
                                         46131, appeal from Superior Court Docket No. UWY-CV18-6046436-S (herein
                                         “Jones’ Appeal Brief”).
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Capitulation
 & Betrayal
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    Capitulation
     & Betrayal




      **Take special note of Jones’
inflammatory anti~Second Amendment
   statements/language highlighted in
yellow and regarding Soto v. Bushmaster.
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 & Betrayal
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            Capitulation & Betrayal
❖ The anti~constitutional, anti~1st and 2nd Amendment positions Alex Jones is asserting in his appeal
  of the Connecticut judgment are not being discussed in the mainstream media.
❖ A few alternative media figures are aware of Jones’ capitulation in the appeal; but there appears to
  be an assumption that Jones is simply diving for the canvas under the astronomical pressure of a
  $1.43 Billion adverse judgment. This is NOT the case. Long before the trial and verdict on damages:


                        Alex Jones did three (3) things
           to make sure the Sandy Hook Plaintiffs
                             would get a big win
               without ever having to prove
                       that the shooting even occurred
       or that their children and loved ones died.
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        Capitulation & Betrayal
   ~Three Things Alex Jones Did to Ensure a Big Win by Plaintiffs~

                ? ? ?
   1. _____________________________

   2. On June 14, 2019, Jones conducted an on~air “intentional, calculated act of
      rage for his viewing audience” where he claimed Plaintiffs’ counsel tried to
      frame him by planting child pornography in discovery materials that Jones,
      himself, produced.

   3. Jones provoked a November 15, 2021, ruling of judgment by default (i.e.,
      liability on Plaintiffs’ claims as alleged) for his “pattern of obstructive
      conduct” in refusing to produce discovery as ordered by the Court.
               Jones might have plausible deniability (“PD”)
for intentional fault on numbers 2 and 3 above; but Jones and his attorneys
have no plausible deniability for the first and determinative thing they did
                             to throw the case.
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    Capitulation
     & Betrayal

          Believe it or not,
  Alex Jones literally threw the
  CT Sandy Hook case with the
 very first responsive pleading he
         filed in the action.

  In short, Jones and his attorneys failed,
    repeatedly, to assert federal question
   jurisdiction when removing the Sandy
  Hook cases to federal court. This could
  NOT have been the result of mistake or
                 malpractice.

  The inexcusable failure to assert federal
question jurisdiction in this significant First
Amendment Case is smoking gun evidence
of collusion or self~sabotage by the defense.
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C ap itu l at io n
 & B e tr ayal
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            Capitulation & Betrayal
❖ In their July 31, 2018, Motion to Remand, Plaintiffs came closest of all parties to referencing
  Defendants’ glaring pleading error, stating: “defendants’ only asserted basis for federal jurisdiction is
  diversity jurisdiction under 28 U.S.C. § 1332.” [Emphasis added.] Not surprisingly, after briefing, the
  federal court: (1) ruled diversity jurisdiction was absent because Connecticut resident Sklanka was
  not improperly joined as a Defendant, (2) remanded the case for lack of SMJ, and (3) terminated
  Defendants’ unanswered Motions to Dismiss as moot. (11/05/18 Ruling Re: Motion for Remand)
❖ WHY would Jones and his Randazza attorneys (1) talk about mounting a strong First Amendment
  defense, (2) timely remove the Sandy Hook lawsuit(s) to federal court, and (3) prepare and file a
  well~crafted Anti~SLAPP motion in federal court to dismiss all claims based on First Amendment
  protections, ONLY to have the Anti~SLAPP motion rendered moot and the case remanded back to
  state court, and back to Judge Barbara Bellis, all for the simple, unexplained, and inexcusable
  repeated failure to assert federal question jurisdiction in the Notices of Removal ??
❖ Could it be that, from the very beginning, Jones and
  his attorneys were doing NOTHING MORE THAN
  MAKING A SHOW of putting on a strong defense
  (or any defense at all) against these speech~chilling
  Sandy Hook lawfare suits ??
❖ Jones’ unexplained failure to assert federal question
  jurisdiction on removal essentially ensured the eventual
  remand of the Sandy Hook case back to state and local
  court, the worst possible venue for resolution of this
  highly~charged and controversial suit.
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            Capitulation & Betrayal
    Paperwars
❖ During the first months of 2019, Plaintiffs demanded and aggressively pursued extensive and
  intrusive discovery from the Jones Defendants.
❖ On March 1, 2019, celebrated Connecticut civil rights and criminal defense attorney, Norm Pattis,
  entered an appearance for the Jones Defendants in place of the disqualified Marc Randazza, and he
  promptly filed a Motion for Extension of Time to Comply With Discovery Order. (Dkt. 196)
❖ The Superior Court granted the extension but stated: “should the defendants again fail to comply
  with the court ordered deadline, the court will, after a hearing, entertain sanctions including
  possible preclusion of the defendants' special motion to dismiss.” [Emphasis added.] (Dkt 196.10)
  This was a most unusual sanction to for the Superior Court to contemplate, let alone threaten, for
  alleged delays in responding to extensive, intrusive, and questionable discovery the Supreme Court
  had authorized just 39 days earlier (a short span in the discovery phase of any significant civil case).
❖ On June 4, 2019, the Jones Defendants filed a memo opposing additional discovery sought by
  Plaintiffs regarding Jones’ business operations. Notably, Attorney Pattis stated therein: “The
  defendants' actions in these cases clearly fall within the exercise of free speech and association[,]”
  and “Simply put, there is no evidence to support the claim that the Jones defendants knowingly
  market falsehoods for financial gain. None. Case closed.” (Dkt. 257)
❖ On June 10, 2019, the Superior Court ordered the Jones Defendants to produce more discovery as
  requested by Plaintiffs, particularly, Google Analytics web business data, which the Court ordered
  Jones to obtain from Google and produce in a week’s time ~ on pain of sanctions. (Dkt. 255.10)
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            Capitulation & Betrayal
    “You’re No Daisy. You’re No Daisy at All !!”
❖ On June 17, 2019, Plaintiffs filed a “Motion for Review of Broadcast by Alex Jones Threatening
  Plaintiffs’ Counsel”. (Dkt. 264) Specifically, Plaintiffs asserted “On June 14, 2019[,] . . . Alex
  Jones broadcast two segments of The Alex Jones Show identifying Attorney Chris Mattei by name
  and showing a picture of him, falsely claiming that Attorney Mattei tried to frame Jones by
  planting child pornography in discovery materials produced by Jones, . . . and threatening
  Attorney Mattei and the Koskoff firm.” [Emphasis added.] Id. Unbelievably, this all occurred with
  Attorney Pattis present and on camera with Jones during the June 14th broadcast. Id.
❖ In a June 18th hearing, Judge Bellis found that Jones’
  tirade “was an intentional, calculated act of rage for
  his viewing audience.” [Emphasis added.] (Dkt. 269)




                                                     ❖ Judge Bellis further found Jones’ “20-minute
                                                       deliberate tirade and harassment and intimi-
                                                       dation against Attorney Mattei and his firm
                                                       [to be] unacceptable and sanctionable.” Id.
                                                     ❖ Judge Bellis sanctioned the Jones Defendants
                                                       by denying them “the opportunity to pursue
                                                       their special motions [sic] to dismiss”. Id.
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             Capitulation & Betrayal
❖ Rather conveniently, Jones’ “intentional, calculated act of rage” served to relieve Plaintiffs of any
  obligation to respond or produce evidence in opposition to Jones’ well~crafted and constitutionally
  grounded Anti~SLAPP Special Motion to Dismiss.

❖ Two years later, and by failing to obey the
  Court’s discovery orders, Jones served to
  relieve Plaintiffs of any need to put on
  evidence at trial that the shooting occurred,
  that their loved ones died, or that he in some
  way defamed them. Indeed, Jones provoked a
  November 15, 2021, ruling of judgment by
  default (i.e., liability on Plaintiffs’ claims as
  alleged) for his “callous disregard” and
  “pattern of obstructive conduct” in refusing
  to produce discovery as ordered by the Court.
                                                                               To be clear,
❖ The $1.43 Billion judgment entered against                  In reviewing the case filings, I find no fault or
  Alex Jones in November 2022 after a jury trial              error by any court that adjudicated any matter
  on damages only was the direct and foreseeable              associated with the consolidated Connecticut
                                                                            Sandy Hook cases.
  result of Jones’ self~sabotaging actions.
                                                             I assign 100% blame for the adverse judgment to
                                                                       Alex Jones and his attorneys.
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                                                                                                                                I highly recommend
                                                                                                                                that everyone watch
                                                                                                                                Unraveling of Sandy
                                                                                                                                Hook in 2, 3, 4 and 5
                                                                                                                                    Dimensions by
                                                                                                                                   researcher Sofia
                                                                                                                                  Smallstorm who
                                                                                                                                 presents a brilliant,
  CT State Police
                                                                                                                                 multileveled logical
    photo of SH
                                                                                                                                      analysis of
 “shooting scene”
                                                                                                                                    perception and
 briefly posted by
                                                                                                                                  reality associated
  Infowars before
                                                                                                                                with the alleged mass
being taken down.
                                                                                                                                       shooting.




 The McDonnells, four (4) days after their 7~year~old daughter                               Robbie Parker, one (1) day after his 6~year~old daughter
   was allegedly shot and killed at the Sandy Hook massacre.     David “Two~Roles” Wheeler        was allegedly shot and killed at Sandy Hook.
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   What
selling out
 looks like:




   How many vitamins ya gotta sell
      to pay for all this stuff ?!
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                       AI Poker

A Peach of a Hand !!




                            A Legal Question
                           Posed to Google AI
           Can a conspiracy to engage in conduct
                 1.   that is criminal in nature or malum per se
                                                                      What physical acts of violence
                      (i.e., “wrong in itself ”), and                 actually occurred at SH ??
                 2.   that is committed with the specific intent of   How about the criminal
                      undermining the 1st and 2nd Amendments          destruction of public property to
                                                                      fake the shooting ?!
           serve as the basis for a charge of Treason ??
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         ( “Thus Always to Tyrants !!” )
Operation
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Madcap




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